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U.S. v. Travis Edward Walker

Court Case No:              3:18-CR-075-WHR
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
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         1                   01/15/2020                      24.0                          Verified
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         7                   01/21/2020                      24.0                          Verified
         8                   01/22/2020                      24.0                          Verified
         9                   01/23/2020                      24.0                          Verified
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        11                   01/25/2020                      24.0                          Verified
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        14                   01/28/2020                      24.0                          Verified
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        16                   01/30/2020                      24.0                          Verified
        17                   01/31/2020                      24.0                          Verified
        18                   02/01/2020                      24.0                          Verified
        19                   02/02/2020                      24.0                          Verified
        20                   02/03/2020                      24.0                          Verified
        21                   02/04/2020                      24.0                          Verified
        22                   02/05/2020                      24.0                          Verified
        23                   02/06/2020                      24.0                          Verified
        24                   02/07/2020                      24.0                          Verified
        25                   02/08/2020                      24.0                          Verified
        26                   02/09/2020                      24.0                          Verified
        27                   02/10/2020                      24.0                          Verified
        28                   02/11/2020                      24.0                          Verified
        29                   02/12/2020                      24.0                          Verified
        30                   02/13/2020                      24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




                                                                                    Exhibit 1
Attachment 1


                        UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION
           COURT CASE NUMBER: 3:18-CR-075-WHR; NOTICE OF FORFEITURE

        Notice is hereby given that on January 09, 2020, in the case of U.S. v. Travis
Edward Walker, Court Case Number 3:18-CR-075-WHR, the United States District Court
for the Southern District of Ohio entered an Order condemning and forfeiting the following
property to the United States of America:

       Miscellaneous Electronic Equipment Ser No: See List (18-FBI-004344), including
       the following items: 1 LG cellphone, Model LGLS992, Ser No: MEID
       089482906302322840; 1 WD PC hard drive 1.0 TB, Model WD10EZEX, Ser No:
       WCC3F4XK9V1Y; 1 Seagate 1TB hard drive, Barracuda Model ST1000DM003, Ser
       No: S1DE8FHQ; 1 Seagate external hard drive, Model SRD00F1, Ser No:
       NA98LJ63; 1 CPU Stand (Generic, no visible hard drive, black in color, missing side
       panel), Ser No: none which was seized from Travis Walker on May 07, 2018 at
       2320 Foxhill Drive, Apt 3A, located in Miamisburg, OH

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (January 15, 2020) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 712 Federal Building, 200 West Second Street, Dayton,
OH 45402, and a copy served upon Assistant United States Attorney SaMee Harden, 600
Federal Building, 200 West Second Street, Dayton, OH 45402. The ancillary petition
shall be signed by the petitioner under penalty of perjury and shall set forth the nature and
extent of the petitioner's right, title or interest in the forfeited property, the time and
circumstances of the petitioner's acquisition of the right, title and interest in the forfeited
property and any additional facts supporting the petitioner's claim and the relief sought,
pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney SaMee Harden, 600 Federal Building, 200 West Second Street, Dayton, OH
45402. This website provides answers to frequently asked questions (FAQs) about filing a
petition for remission. You may file both an ancillary petition with the court and a petition
for remission or mitigation.
